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IN TI'[E UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRIC’I` OF TEXAS
FORT WORTI'I DIVISION

BETH CHANEY MACNEILL
Plaintijj"

VS.

CIVIL ACTION NO. 4~14CV-242-0
NIRMAL JAYASEELAN, M.D., DOlV[[NGO

K. TAN, M.D., CHAD CARL'I`ON, M.D.,
TEXAS HEALTI-I HARRIS METHOI}IST
H()SPITAL FORT WORTH, EI\/IERGENCY
MEDIC[NE CONSULTANTS LTD.,
BAYLOR ALL SAINTS ME.DICAL CENTER
AT FORT WORTH A_N]) EMCARE, INC.
Defendants

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PLAINTIFF’S AMENDED CON[PLAINT

NOW COMES BETH CHANEY MACNEILL, Plaintij in the above-entitled and
numbered cause, and files this Amended Cornplaint, pursuant to F ederal Rule of Cz'vil Procedure
lj(a)(l), complaining of Defendants, NIRMAL JAYASEELAN M.D., DOM]NGO K. TAN
M.D., CHAD CARL'I`ON M.D., 'I`EXAS HEALTH I'IARRIS l\/IETHO]]IST HOSPITAL
FORT WORTH, EMERGENCY MEDICINE CONSULTANTS LTD., BAYLOR ALL
SAINTS MEDICAL CENTER AT F()RT WORTH AND EMCARE, INC. and for cause of
action Would respectfully show this Court the following

PARTIES

1.0 Plaintiff is a resident of I-Iarrison, Boone CountyJ Arkansas.

l.l Defendant Nirmal Jayaseelan, M.D. has been served with process and has filed an
answer herein. On the occasion in question, Nirmal Jayaseelan, M.D. Was a physician licensed

by the State of Texas to practice medicine and surgery and Was providing medical and Surgical

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services in Dallas, Da.llas County, Texas. He held himself out and represented to the Plaintiff,
and the public in general, that he was a competent and qualified physician specializing in
Bariatric and General Surgery. On the occasion in question, Beth Chaney MacNeill had a
physician/patient relationship with Defendant Nirmal Jayaseelan, M.D.

1.2 Defendant Domingo K. Tan, M.D. is a resident of Fort Worth, Tarrant County,
Texas and has been served with process at his principle place of business at 1001 College
Avenue, Suite B, Fort Worth, TeXas 76104. On the occasion in question, Domingo K. Tan, M.D.
was a physician licensed by the State of Texas to practice medicine and surgery and was
providing medical and surgical services in Fort Worth, Tarrant County, Texas. lie held himself
out and represented to the Plaintiff, and the public in general, that he was a competent and
qualified physician specializing in General Surgery. On the occasion in question, Defendant
Domingo K. Tan, M.D. provided emergency medical services to the Plaintiff and Beth Chaney
MacNeill had a physician/patient relationship With Defendant Dorningo K. Tan, M.D.

1.3 Defendant Chad Carlton, M.D. has been served with process and filed an answer
herein. On the occasion in question, Chad Carlton, M.D. Was a physician licensed by the State of
Texas to practice medicine and surgery and was providing medical and surgical services in
Dallas, Dalias County, Texas. He held himself out and represented to the Plaintiff, and the
public in general, that he was a competent and qualified physician specializing in Bariatric and
General Surgery. On the occasion in question, Defendant Chad Carlton, M.D. provided
emergency medical services to the Plaintiff and Beth Chaney MacNeill had a physician/patient
relationship with Defendant Chad Carlton, M.D.

1.4 Defendant Texas Health l-Ianis Methodist Hospital Fort Worth has been served

with process and has filed an answer herein. On the occasion in question, Texas Health Harris

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Methodist Hospital Fort Worth was licensed by the State of Texas to provide emergency medical
and surgical services in Fort Worth, Tarrant County, Texas. lean Health Harris Methodist
I-lospital Fort Worth was a "participating hospital" as that term is defined by 42 USCS
§1395dd(e)(2). lt held itself out and represented to the Plaintiff, and the public in general, that it
was a competent and qualified Level ll emergency health care facility. On the occasion in
question, Defendant Texas Health l-larris Methodist Hospital Fort Worth, by and through its
agents and/or employees, provided emergency medical services to the Plaintiff and Beth Chaney
MacNeill had a hospital/patient relationship with Defendant Texas Health Harris Methodist
l-lospital Fort Worth.

1.5 Defendant Emergency Medicine Consultants, Ltd. is a Texas Limited Partnership.
Emergency Medicine Consultants, Ltd., by and through its agents and/or employees, provides
emergency medical services to Texas Health Harris Methodist Hospital Fort Worth. Ernergency
Medicine Consultants, Ltd. has been served with process and has filed an answer herein. On the
occasion in question, Emergency Medicine Consultants, Ltd. was licensed by the State of Texas
to provide emergency medical services in Fort Worth, Tarrant County, Texas. lt held itself out
and represented to the Plaintiff, and the public in general, that it was a competent and qualified
emergency medical services provider. On the occasion in question, Defendant Emergency
Medicine Consultants, Ltd. provided emergency medical services to the Plaintir`f and Beth
Chaney MacNeill had a emergency medical services provider/patient relationship with
Defendant Emergency Medicine Consultants, Ltd..

l.6 Defendant Baylor All Saints Medical Center Fort Worth is a private health care
facility providing emergency medical services in Fort Worth, Tarrant County, Texas. Defendant

Baylor All Saints Medical Center Fort Worth has been served with process and has filed an

 

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answer herein. On the occasion in question, Baylor All Saints Medical Center Fort Worth was
licensed by the State of Texas to provide emergency medical and surgical services in Fort Worth,
Tarrant County, Texas. Baylor All Saints Medical Center Fort Worth was a "participating
hospital" as that term is defined by 42 USCS §]395dd(e)(2). lt held itself out and represented to
the Plaintiff, and the public in general, that it was a competent and qualified emergency health
care facility. On the occasion in question, Defendant Baylor All Saints Medical Center Fort
Worth, by and through its agents and/or employees, provided emergency medical services to the
Plaintiff and Beth Chaney MacNeill had a hospital/patient relationship with Defendant Baylor
All Saints Medical Center Fort Worth-

l.')' Defendant EmCare, lnc. is a foreign corporation doing business in the State of
Texas. EmCare, lnc. is an emergency medicine service organization that provides emergency
medical services to Baylor All Saints Medical Center Fort Worth . Defendant EmCare, lnc. has
been served with process and filed an answer herein On the occasion in question, EmCare, lnc.
was licensed by the State of Texas to provide emergency medical services in Fort Worth, Tarrant
County, Texas. It held itself out and represented to the Plaintifi`, and the public in general, that it
was a competent and qualified emergency medical services provider. On the occasion in
question, Defendant EmCare, lnc., by and through its agents and/or employees, provided

emergency medical services to the Plaintiff and Beth Chaney MacNeill had a emergency medical

services provider/patient relationship with Defendant EmCare, lnc..
JURISDICTION AN]) VENUE
2.0 This Court has federal question jurisdiction over this action because Plaintiffs

cause action arises under 42 U.s.c.A. § 1395dd "ni\/ITALA".1

 

128 U.s.C. §1331

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2.1 This Court has complete diversity jurisdiction over the parties to this action
because no defendant is a resident of the same state as the Plaintifi`.2 Plaintiff is a resident of the
State of Arkansas. Defendants Nirmal Jayaseelan, M.D., Domingo K. Tan, M.D. and Chad
Carlton, M.D. are residents of the State of Texas. Defendant EmCare, lnc. is a Delaware
corporation doing business in the State of Texas and Defendant Emergency Medicine
Consultants, Ltd. is a Texas Limited Partnership.

2.2 The matter in controversy exceeds the sum or value of the Seventy-Five Thousand
Dollar ($75,000.00) minimum jurisdictional limits of this Court, exclusive of costs and interest.3

2.3 Venue is proper in the Northern District of Texas because a substantial part of the
events or omissions giving rise to this claim occurred in the Northern District of Texas.4

CONDITIONS PRECEDENT

3.0 Pursuant to Federal Rule of Civil Procedure 9(c), all conditions precedent have
occurred or been performed

3.l Plaintiff has fully complied with the provisions of the Texas Civi`l Practz'ce and
Remedies Code § 74. 051 and § 74. 052 with regard to Defendant Nirmal Jayaseelan, M.D..
Plaintiff duly and properly notified Defendant Nirmal .layaseelan, M.D. of her health care
liability claim prior to the filing of this Petition and produced a §74.052(c) HIPAA compliant
authorization

3.2 Plaintif`f claims that Defendants Texas Health Harris Methodist Hospital Fort
Worth, Emergency Medicine Consultants, Ltd., Baylor All Saints Medical Center Fort Worth,
EmCare, lnc., Domingo Tan M.D. and Chad Carlton M.D. violated the Emergency Medical

Treatment and Active Labor Acr 42 U.S.C.A. §1395dd and therefore Texas Civil Practice and

 

2 28 U.s.C. §1332(&)(1)
3 28 u.s.C. §1332(3)
“ 23 u.s.c. §1391@(2)

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Remedies Code § 74. 051 and § 74. 052 do not apply. ln the alternative, Plaintiff asserts that
Defendants Texas Health Harris Methodist Hospital Fort Worth, Emergency Medicine
Consultants, Ltd., Baylor All Saints Medical Center Fort Worth, EmCare, lnc., Domingo Tan
M.D. and Chad Carlton M.D. were negligent and Plaintiff has fully complied with the provisions
of the Texas Civil Practice and Remedies Code §74.051 and §74.052 by duly and properly
notifying these Defendants of this health care liability claim prior to the filing of` this Complaint
and by producing a HIPAA compliant authorization
STATEMENT OF FACTS

4.0 On April 21, 2012, Defendant Nirmal Jayaseelan, M.D. performed an endoscopy
on Beth MacNeill. The endoscopy was normal. There was no esophagitis. No biopsy was
performed and there was no esophageal manometry. Ms. MacNeill did not have renactory reflux,
regurgitation or an incompetent lower esophageal sphincter. She did not complain of reflux
disease and Defendant Nirmal layaseelan, M.D. had not medically managed her f`or
gastroesophageal reflux disease, or GERD.

4-1 ()n April 27, 2012, Defendant Nirmal Jayaseelan, M.D. performed an outpatient
gastric fundo plication for GERD on Beth MacNeill. Fundo plication surgery is a last resort
surgical procedure for GERD. Beth MacNeill did not have GERD.

4.2 On April 28, 2012, Beth MacNeill presented to the Texas Health Harris Methodist
Hospital Fort Worth Emergency Department and requested examination and treatment for
complaints of severe abdominal pain.

4.3 ln April 2012, Texas Health Harris Methodist Hospital Fort Worth was a Level ll
Trauma Center and it contracted with Emergency Medicine Consultants, Ltd. to provide Level ll

emergency medical services

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4.4 An imaging study of Beth MacNeill's abdomen confirmed pneumoperitoneum and
ascites indicative of a surgical perforation. The perforation occurred during the fundo plication
procedure Gastric perforation is a surgical emergency A delay in repairing a gastric perforation
will likely cause a material deterioration of the patient's condition Beth MacNeill's gastric
perforation was a surgical emergency and her medical condition required emergency services
from a hospital and a surgeon. Texas Health Harris Methodist l-Iospital Fort Worth and
Emergency Medicine Consultants, Ltd. discharged her horne.

4.5 On April 29, 2012, Beth MacNeill presented to Baylor All Saints Medical Center
at Fort Worth Emergency Department via ambulance in septic shock. A request Was made on
Beth MacNeill's behalf for examination and treatment.

4.6 ln April 2012, Baylor All Saints Medical Center at Fort Worth contracted with
EmCare, lnc. to provide emergency medical services

4.7 Exarnination by emergency physician, Asha Abraham D.O., indicates that Beth
MacNeill's medical condition Was emergent. Her abdomen was distended. She was difliisely
tender to palpation, hypotensive, tachycardic and lactated at 9.37. She was in acute renal failure
and her creatinine was 2.5. She was hyperkalemic and her potassium was over 5. CT images
showed gross pneumoperitoneum and massive ascites indicative of a perforation or ischemic
stomach.

4.8 Dr. Abraham requested a surgical consultation from general surgeon, Domingo
Tan, M.D. Dr. Tan recognized the probability cf a gastric leak and prepared Ms. MacNeill for
operative exploration Dr. Tan requested a bariatric consultation from Chad Carlton M.D. Dr.
Carlton noted gross pneumoperitoneum and massive ascites. His assessment was intra-abdorninal

sepsis likely from an ischemic stomach and breakdown of the plication site. Dr. Carlton did not

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perform emergency surgery to repair the perforation. He initiated efforts to transfer Ms.
MacNeill to Dr. Jayaseelan.

4.9 April 29, 2012 was a Sunday and Defendant Nirmal Jayaseelan, M.D. was not on
call. John Winter, M.D. was covering for Dr. Jayaseelan that weekend but Dr. Winter was not a
bariatric surgeon and he refused to accept Beth MacNeill's transfer to Forest Park Medical
Center.

4. 10 Neither Baylor All Saints Medical Center at Fort Worth, EmCare, Dr. Tan nor Dr.
Carlton performed emergency surgery to repair the gastric perforation. They kept Ms. MacNeill
overnight and transferred her to Forest Park Medical Center the next day.

4.ll Beth MacNeill's medical condition deteriorated while she waited to be transferred
to Forest Park Medical Center.

4.]2 The fundo plication surgery and the delay in the surgical repair of the gastric
perforation caused or contributed to cause injuries and damages to Beth MacNeill.

STATEMENT OF TI-]E CLAIMS
Nirmal Jayaseelan, M.D.

5.0 On the occasion in question, Nirmal Jayaseelan, M.D- committed one or more of
the following acts and/or omissions of negligence:

5.1 He performed a fundo plication surgery for GBRD on Beth MacNeill;

5.2 l-le performed fundo plication surgery for GERD without attempting to
medically managing Beth MacNeill for GERD;

53 He performed fundo plication surgery for GERD in the absence of
refractory reflux, regurgitation or an incompetent sphincter; and

5.4 He performed fundo plication surgery for GERD without esohageal
manometry;

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5.5 The acts and/or omissions ofNirmal Jayaseelan, M.D. jointly and severally

caused or contributed to cause injuries and damages to the Plaintiff.

42 U.S. C.A. § 1395dd "EMTALA "
6.0 The Emergency Medical Treatment and Active Labor Act 42 U.S.C.A. §1395dd

requires that if an individual comes to a hospital's emergency department and requests
examination and treatment for a medical condition, the hospital must provide for an appropriate
medical screening examination within the capability of the hospital's emergency department,
including ancillary services routinely available to the emergency department, to determine
whether or not an emergency medical condition exits. 42 U.S.C.A. §1395dd(a)

6.l If the hospital determines that the individual has an emergency medical condition,
the hospital must provide either-- A) within the staff and facilities available at the hospital, for
such further medical examination and such treatment as may be required to stabilize the medical
condition, or B) for transfer of the individual to another medical facility in accordance with
subsection (c) 42 U.S;C.A. §1395dd(b)(1)M)(B).

6.2 Subsection (c) restricts the transfer of the individual if the emergency medical
condition has not been stabilized 42 U.S.C.A. §1395dd(c).

6.3 The term "emergency medical condition" means a medical condition manifesting
itself by acute symptoms of sufficient severity such that the absence of immediate medical
attention could reasonably be expected to result in placing the health of the individual in serious
jeopardy, serious impairment to bodily functions or serious dysfunction of any bodily organ or

pan 42 as.CA. §1395¢1¢1(¢) (1) maria

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6.4 The term "stabilize" means to provide such medical treatment of the condition as
was necessary to assure, within reasonable medical probability, that no material deterioration of
her condition was likely to result nom or occur during the transfer of the individual from a
facility 42 U.S.C.A. §1395dd(e)(3)(B).

6.5 Within the context of EMTALA, statutory liability is imputed to the hospital
based on the actions and decisions of the hospital's emergency physician‘s, support staff and any
healthcare providers ancillary to the emergency department A hospital is liable for the
emergency medicine physician's conduct and decisions regarding screening, stabilization, and
transfer because the hospital can only act, and thereby comply with EMTALA's requirements, by
relying on the actions of its physicians and hospital staff. Any EMTALA violation by a
physician, staff or healthcare provider ancillary to the emergency department is also a violation
by the hospital Burdilr v. U.S. HHS, 934 F.2d 1362, 1374 (5th Cir. 1991).

Texas Health Harris Methodist Hospital Fort Worth

7.0 ln April 2012, Texas Health Harris Methodist Hospital Fort Worth contracted
with Emergency Medicine Consultants, Ltd. to provide emergency medical services.
Accordingly, the acts and/or omissions of the Emergency Medicine Consultants, Ltd.'s
physicians, staff, or any ancillary healthcare providers within the hospital, are imputed to Texas
Health Harris Methodist Hospital Fort Worth.

7.1 Pleading in the alternative, pursuant to FRCP 8(d)(2), the health care providers
within Emergency Medicine Consultants Ltd. were acting as agents, employees or associates of
Texas Health l-larris Methodist Hospital Fort Worth and were acting within the scope of their
authority as such agents, employees or associates of Texas Health Harris Methodist Hospital Fort

Worth. Plaintiff had a reasonable belief that the Emergency Medicine Consultants Ltd. was

 

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authorized by Texas l-lealth l-larris Methodist Hospital Fort Worth to act on its behalf.
Accordingly, Texas Health Harris Methodist Hospital Fort Worth is responsible for the damages
which resulted from the acts or omissions of its agents, employees or associates under the
principals of agency.

7.2 On Apiil 28, 2012, Beth MacNeill went to Texas Health Harris Methodist
Hospital Fort Worth's Emergency Department with an emergency medical condition and the
hospital, by and through its agents, servants or employees, either (a) did not adequately screen
Ms. MacNeill to determine whether or not she had an emergency medical condition or (b) had
actual knowledge of the emergency medical condition and did not stabilize her before discharge
Plaintiff‘s injuries and damages were jointly and severally a direct result of Defendant Texas
Health Harris Methodist Hospital Fort Worth‘s acts and omissions

7.3 Pleading hypothetically and in the alternative, pursuant to FRCP 8(d)(2), if this is
not an EMTALA violation, then Texas Health Harris Methodist Hospital Fort Worth, by and
through its agents, servants or employees, committed one or more of the following acts and/or
omissions of negligence:

7.4 Texas Health Harris Methodist Hospital Fort Worth failed to properly
evaluate, diagnose and treat Beth MacNeill's medical condition;

7.5 Texas Health Harris Methodist Hospital Fort Worth failed to recognize
that Beth MacNeill's medical condition was emergent;

7.6 Texas Health Harris Methodist Hospital Fort Worth discharged Beth
MacNeill with an emergency medical condition;

7.7 The acts or omissions of Texas Health Harris Methodist Hospital Fort Worth, by
and through its agent, Emergency Medicine Consultants Ltd., jointly and severally caused or

contributed to cause Plaintiffs injuries and damages

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Emergency Medicine Consultants Ltd.

8.0 Pleading hypothetically and in the alternative, pursuant to FRCP 8(d)(2), if this is
not an EMTALA violation and if the acts or omissions of Emergency Medicine Consultants Ltd.
are not imputed to Texas Health Harris Methodist Hospital Fort Worth then Emergency
Medicine Consultants Ltd. was an express or ostensible agent of Texas Health Harris Methodist
Hospital Fort Worth, and Emergency Medicine Consultants Ltd., by and through its agents

and/or employees, committed one or more of the following acts and/or omissions of negligence:

8.1 Emergency Medicine Consultants Ltd. failed to properly evaluate,
diagnose and treat Beth MacNeill's condition;

8.2 Emergency Medicine Consultants Ltd. failed to recognize
that Beth MacNeill'S medical condition was emergent;

8.3 Emergency Medicine Consultants Ltd. discharged Beth MacNeill
with an emergency medical condition

8.4 Emergency Medicine Consultants Ltd.'s acts or omissions jointly and severally

caused or contributed to cause Plaintiff‘s injuries and damages

Baylor All Saints Medical Center Fort Worth

9.0 In April 2012, Baylor All Saints Medical Center Fort Worth contracted with
EmCare, lnc. to provide emergency medical services. Domingo K. Tan M.D and Chad Carlton
M.D. provided medical services to Beth MacNeill that were ancillary to the emergency medical
services. Accordingly, the acts and/or omissions of the EmCare, lnc.'s physicians, staff,
Domingo K. Tan M.D. and Chad Carlton M.D. are imputed to Baylor All Saints Medical Center
Fort Worth.

9.1 Pleading in the altemative, pursuant to FRCP 8(d)(2), the health care providers
within EmCare, lnc., Domingo K. Tan M.D. and Chad Carlton M.D. were acting as agents,
employees or associates of Baylor All Saints Medical Center Fort Worth and were acting within

the scope of their authority as such agents, employees or associates of Baylor All Saints Medical

 

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Center Fort Worth. Plaintiff had a reasonable belief that the EmCare, Inc., Domingo K. Tan
M.D. and Chad Carlton M.D. were authorized by Baylor All Saints Medical Center Fort Worth
to act on its behalf Accordingly, Baylor All Saints Medical Center Fort Worth is responsible for
the damages which resulted from the acts or omissions of its agents, employees or associates
under the principals of agency.

9.2 On April 29, 2012, Beth MacNeill went to Baylor All Saints Medical Center Fort
Worth's Emergency Department With an emergency medical condition and the hospital, by and
through its agents, servants or employees, either (a) did not adequately screen Ms. MacNeill to
determine whether or not she had an emergency medical condition or (b) had actual knowledge
of the emergency medical condition and did not stabilize her before transfer.

9.3 Plaintifl‘s injuries and damages were jointly and severally a direct result of
Defendant Baylor All Saints Medical Center Fort Worth's acts and omissions

9.4 Pleading hypothetically and in the alternative, pursuant to FRCP 8(d)(2), if this is
not an EMTALA violation, Baylor All Saints Medical Center Fort Worth, by and through its
agents, servants or employees, committed one or more of the following acts and/or omissions of
negligence:

9.5 Baylor All Saints Medical Center Fort Worth failed to properly evaluate,
diagnose and treat Beth MacNeill's medical condition;

9.6 Baylor All Saints Medical Center Fort Worth failed to recognize that
Beth MacNeill's medical condition Was emergent;

9.7 Baylor All Saints Medical Center Fort Worth kept Beth MacNeill
overnight and transferred her to Forest Park Medica] Center the next
morning

9.8 Plaintift‘s injuries and damages were jointly and severally a direct result of

Defendant Baylor All Saints Medical Center Fort Worth acts or omissions

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Emcare, Inc.

10.0 Pleading hypothetically and in the alternative, pursuant to FRCP 8(d)(2), if this is
not an EMTALA Violation and if the acts or omissions of EmCare, lnc- are not imputed to
Baylor All Saints Medical Center Fort Worth then EmCare, lnc. Was an express or ostensible
agent of Baylor All Saints Medical Center Fort Worth and EmCare, lnc., by and through its

agents and/or employees, committed one or more of the following acts and/or omissions of

negligence:

10.1 EmCare, lnc. failed to properly evaluate, diagnose and treat Beth
MacNeill's condition;

10.2 EmCare, lnc. failed to recognize that Beth MacNeill's medical condition
was emergent;

10.3 EmCare, Inc. transferred Beth MacNeill with an emergency medical
condition

10.4 EmCare, lnc.'s acts or omissions jointly and severally caused or contributed to

cause Plaintiffs injuries and damages

Domingo K. Tan, M.D.

11.0 Pleading hypothetically and in the alternative, pursuant to FRCP S(d)(?.), if the
acts or omissions of Do`mingo K. Tan M.D. were not ancillary to the emergency medical services
and are not imputed to Baylor All Saints Medical Center Fort Worth then Domingo K. Tan M.D.
committed one or more of the following acts and/or omissions of negligence individually and as

an express or ostensible agent of Baylor All Saints Medical Center Fort Worth:

ll.l Domingo K. Tan M-D. failed to properly evaluate, diagnose and treat Beth
MacNeill's condition;

11.2 Dorningo K. Tan M.D. failed to recognize that Beth MacNeill's medical
condition was emergent;

11.3 Domingo K. Tan M.D. failed to treat Beth MacNeill's gastric perforation
in a timely manner;

 

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11.4 Domingo K. Tan M.D. kept Beth MacNeill overnight and allowed her
condition to deteriorate before transferring her the next morning.

11.5 Domingo K. Tan M.D.'s acts or omissions jointly and severally caused or

contributed to cause Plaintiil‘s injuries and damages

Chad Carlton, M.D.

12.0 Pleading hypothetically and in the alternative, pursuant to FRCP 8(d)(2), if the
acts or omissions of Chad Carlton M.D. were not ancillary to the emergency medical services
and are not imputed to Baylor All Saints Medical Center Fort Worth then Chad Carlton M.D.
committed one or more of the following acts and/or omissions of negligence individually and as

an express or ostensible agent of Baylor All Saints Medical Center Fort Worth:

12.1 Chad Carlton M.D. failed to properly evaluate, diagnose and treat Beth
MacNeill's condition;

12.2 Chad Carlton M.D. failed to recognize that Beth MacNeill's medical
condition was emergent;

12.3 Chad Carlton M.D. failed to treat Beth MacNeill's gastric perforation in a
timely manner;

12.4 Chad Carlton M.D. kept Beth MacNeill overnight and allowed her
condition to deteriorate before transferring her the next morning

12.5 Chad Carlton M.D.'s acts or omissions jointly and severally caused or contributed
to cause Plaintist injuries and damages

DAMAGES
13.0 As a direct and proximate result of the Defendants’ acts andfor omissions, Beth
Chaney MacNeill, has suffered past, present and future injuries and damages including, but not
necessarily limited to, reasonable and necessary medical expenses, conscious physical pain and
suffering, physical disability, physical disfigurement, mental anguish, emotional harm, lost
earnings and loss of earning capacity. The amount cf the above-described damages are

substantially in excess of the minimum jurisdictional limits of this Court.

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DEMAND F()R JURY
14.0 Plaintiff hereby files her Jury Demand with the Court as required by FRCP 38 (b)

and 5 (d).

DEMAN]) FOR JUI)GMENT
WHEREFORE, PREMISES CONSIDERED, Plaintiff, Beth Chaney MacNeill prays
that the Defendanrs be cited to appear and answer herein, and that Plaintiff has judgment, jointly

and severally, against such Defendants as follows:

(l) That Plaintiff, Beth Chaney MacNeill recover of and nom the
Defendants judgment for the above-described past and/or future
injuries and damages in an amount in excess of the minimum
jurisdictional limits of this Court;

(2) That Plaintiff Beth Chaney MacNeill, recover pre-judgment
interest on the amount accrued beginning on the 180th day after
the date the Dej%ndants receive written notice of claim or on the
day the suit is filed, whichever occurs first, and ending on the day
preceding the date judgment is rendered;

(3) That Plaintiff, Beth Chaney MacNeill, recover post-judgment
interest on the amount due at the highest legal rate allowed by law
from the date of judgment until paid; and

(4) That Plaintiff, Beth Chaney MacNeill, recover all costs of Court,
and such other and further relief, at law or in equity, to which
Plaintiff may show herself justly entitled.

Respectfully Submitted,

By /s/ Robert Hammer
Rohert W. Hamlner
State Bar No.: 08854780

Michael J. Henry
State Bar. No.: 0948230(}

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ATTORNEYS FOR PLAINTIFF

CER'I‘IFICATE OF SERVICE
l hereby certify that on May 21, 2014, l electronically iiled the foregoing with the Clerk
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